                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF ALASKA

CHERYL BOWIE,


                               Plaintiff,

vs.

MEDTRONIC, INC., REGENERATION
TECHNOLOGIES, INC., SPINALGRAFT
TECHNOLOGIES, GALEN HOSPITAL
ALASKA, INC. d/b/a ALASKA REGIONAL
HOSPITAL, and BIOMEDICAL TISSUES
SERVICES, LTD.


                               Defendants.       Case No. 3:08-cv-00090-TMB


                       ORDER OF DISMISSAL WITH PREJUDICE

              THE COURT having fully considered the parties’ Stipulation for Dismissal

With Prejudice made pursuant to Fed. R. Civ. P. 41, hereby DISMISSES WITH PREJUDICE

all claims brought, or which could have been brought, in this matter. Each party shall bear its

own costs and attorney fees.

              SO ORDERED.

              Dated this 2nd day of May, 2012, at Anchorage, Alaska.

                                             /s/ Timothy M. Burgess
                                               Hon. Timothy M. Burgess
                                               U.S District Judge




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